Case 1:15-po-00005-JCN Document 10

AO 2451 (Rev. 09/11) Judgment in a Criminal Case fora Petty Offense

Sheet |

UNITED STATES DISTRICT COURT

District of Maine

Filed 10/02/15 Page 1lof4 PagelD#:9

 

 

 

 

UNITED STATES OF AMERICA Judgment in a Criminal Case mis OCT -5 P 12449
Vv. (For a Petty Offense)
anv __#
DUSHKO VENELINOV VULCHEV Case No. 1:15-PO-00005-JCN oY HEPUTY CLERK
USM No. 08755-036
Marvin Glazier, Esq.
Defendant’s Attorney
THE DEFENDANT:
4 THE DEFENDANT pleaded vf guilty 1 nolo contendere to count(s) _ 1
O THE DEFENDANT was found guilty on count(s)
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18:112(b)(1) Threat to Foreign Official 2/5/2015 1
The defendant is sentenced as provided in pages 2 through 4 of this judgment.

O THE DEFENDANT was found not guilty on count(s)

 

O Count(s) 0 is

 

O are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,

residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fu
ordered to pay restitution, the defendant must notify the court and United States attorney o

circumstances,

Last Four Digits of Defendant’s Soc. Sec. No.: 6747

Defendant’s Year of Birth; 1976

City and State of Defendant’s Residence:
Houlton, ME

 

t fully paid. If
material changes in economic

10/2/2015 ,
oe position of Judgment
g Signature of Judge

John C. Nivison, USMJ

 

Name and Title of Judge
10/2/2015

 

Date
Case 1:15-po-00005-JCN Document 10 Filed 10/02/15 Page 2o0f4 PagelD#: 10

AO 2451 — (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
Sheet 2 — Imprisonment

Judgment — Page 2 of

 

DEFENDANT: DUSHKO VENELINOV VULCHEV
CASE NUMBER: 1:15-P0-00005-JCN

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :

Time Served (Six (6) months imprisonment)

O The court makes the following recommendations to the Bureau of Prisons:

Ol The defendant is remanded to the custody of the United States Marshal.

O The defendant shall surrender to the United States Marshal for this district:
O at O am. O p.m. on
O as notified by the United States Marshal.

O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O before 2 p.m. on

 

O sas notified by the United States Marshal.

0 sas notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:15-po-00005-JCN Document 10 Filed 10/02/15 Page 3of4 PagelD#: 11

AQ 2451 (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
Sheet 3 — Criminal Monetary Penalties

Judgment — Page 3 of 4

 

DEFENDANT: DUSHKO VENELINOV VULCHEV
CASE NUMBER: 1:15-P0-00005-JCN
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 4.

Assessment Fine Restitution
TOTALS $3 10.00 $ $
O The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
O The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage ayment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid in full prior to the United States receiving payment.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00. $ 0.00

 

O Restitution amount ordered pursuant to plea agreement $

QO The defendant must pay interest on restitution or a fine of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

O The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
Othe interest requirement is waived for O fine O _-srestitution.

Othe interest requirement for O fine Os restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 2451 (Rev. 09/11) Judgment in a Criminal Case for a Petty Offense
Sheet 4 — Schedule of Payments

Judgment — Page 4 of 4
DEFENDANT: DUSHKO VENELINOV VULCHEV

CASE NUMBER: 1:15-PQ-00005-JCN
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A ov Lump sum payment of $ 10.00 due immediately, balance due

O not later than , or
O inaccordancewith O C, O D, O E,or O F below); or

B (1 Payment to begin immediately (may be combined with OC, O D,or Oi F below); or

C (CO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D QO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to

a term of supervision; or

E Payment during the term of probation will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F O Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

O_ ‘The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

OO The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
